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EXHIBIT B
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Terms of Use - West Side Lending

< https://www.westsidelend.com>

These terms of use (“Terms of Use”) are provided on behalf of West Side
Lending and its affiliates (“we” “us” “our”), By using
www.westsidelend.com, including any pages thereof (the "Site”), you
acknowledge that you have read, understand and agree to be bound by
these Terms of Use, regardless of whether you are a registered user of our
products or services (each a “Service” collectively, referred to as “Services”).
If you do not wish to be bound by these Terms of Use, you should not access
or use the Site or Services. If there is any inconsistency between these
Terms of Use and another agreement you enter into that is applicable to
Service offered on the Site then the other agreement will take precedence as
it applies to the Service.

Changes to These Terms of Use

We reserve the right, in our sole discretion, to modify these Terms of Use at
any time. Changes to these Terms of Use will become effective immediately
upon the posting thereof. Please review these Terms of Use often to keep
yourself apprised of any changes, Your continued use of the Site following
the posting of changes will constitute your acceptance of the revised Terms
of Use.

Eligibility

This Site is intended solely for users who are 21 years of age or older, and
any registration or use of the Site by anyone under 21 is unauthorized and in
violation of these Terms of Use. By using the Site, you represent you are 21
or older and that you agree to and to abide by all of the terms and conditions
of these Terms of Use, If you violate any of these Terms of Use, or violate any
other agreement with us, we may terminate your registration and/or prohibit
you from using or accessing our Services or the Site.

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for a loan, you agree to provide current, complete, and accurate information
about yourself. If any information you provide is untrue, inaccurate, not
current, or incomplete, we have the right to reject or cancel your account
registration, reject any application you have submitted, terminate any
agreement we have with you, and restrict your future use of the Site and our
Services. We reserve the right to decline any application for a loan.

Your Account

To access our Services, you will be required to register and create an
account on the Site. You may not disclose your user name or password to
any third party. If you learn of any unauthorized use of your password or
account, please contact us immediately. You may be required to login in
order to use certain parts of the Site.

Your Content and Information Sharing

By providing information or content on the Site, you expressly agree to all of
the following: You grant us a non-exclusive, transferable, sub-licensable,
royalty-free, world-wide license to use any information or content that you
provide in connection with your use of the Site and our Services, subject to
the privacy provisions described in our Privacy Policy. We have the right to
review, delete, edit, modify, reformat, excerpt, or translate any of your
information or content. You are solely responsible for the content and
information you make available through or in connection with our Services.

All the information and content posted on the Site or privately transmitted
through the Site or via other means in connection with our Services is the
sole responsibility of the person from which that content originated. We will
not be responsible for any errors or omission in any information or content
posted by a user.

We will not share or sell any of your information with any third party, except
as specifically described in our Privacy Policy, which is incorporated by
reference into these Terms of Use.

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following:

register for more than one account, or register for an account on behalf
of an individual other than yourself or on behalf of any group or entity;
post or otherwise make available content, or take any action on the
Site, that may constitute libel or slander or that infringes or violates
someone else's rights or is protected by any copyright or trademark, or
otherwise violates the law;

post or otherwise make available content that in our judgment is
objectionable, such as content that is harmful, threatening,
inflammatory, obscene, fraudulent, invasive of privacy or publicity
rights, hateful, or otherwise objectionable, or which restricts or inhibits
any other person from using or enjoying the Site, or which may expose
us or our users to any harm or liability of any type;

post or otherwise make available any unsolicited or unauthorized
advertising, solicitations, promotional materials, or any other form of
solicitation;

use the information or content on our Site to send unwanted messages
to any other user;

impersonate any person or entity, or falsely state or otherwise
misrepresent yourself, your age or your affiliation with any person or
entity;

post or otherwise make publicly available on the Site any personal or
financial information of any third party;

solicit personal information from anyone under 21 or solicit passwords
or personally identifying information for commercial or unlawful
purposes;

use the Site or our Services in any manner that could damage, disable,
overburden or impair the Site;

harvest or collect email addresses or other contact information of our
users from the Site by electronic or other means, including via the use
automated scripts; or

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hardware or telecommunications equipment.

Intellectual Property Proprietary Rights; Copyrights;
Trademarks

All software, design, text, information, data, databases, images, photographs,
illustrations, audio clips, video clips, artwork, graphic material, or other
copyrightable elements (collectively, “Content”), other than User Content (as
defined above), are the property of West Side Lending and/or its
subsidiaries, affiliates, assigns, licensors, vendors, partners or other
respective owners and are protected, without limitation, pursuant to
copyright laws. No Content (other than your own User Content) may be
reproduced, modified, used to create derivative works, displayed, performed,
published, distributed, disseminated, broadcast or circulated to any third
party without our express prior written consent.

“West Side Lending" and all related logos (collectively, “the Trademarks”)
constitute our trademarks or service marks. Other company, product, and
service names and logos used and displayed on this Site may be trademarks
or service marks owned by us or others. You may not use, copy, display,
distribute, modify or reproduce any of the trademarks found on the Site
unless in accordance with written authorization by us. The use of any of the
Trademarks as part of a link to or from any site is prohibited unless we
provide advance written approval. In addition, all page headers, custom
graphics, button icons, and scripts are our service marks, trademarks,
and/or trade dress. You may not copy, imitate, or use them without our prior
written consent. Any questions concerning any Trademarks, or whether any
mark or logo is a Trademark, should be referred to us,

All right, title and interest in and to the Website, any content thereon, our
products and services, the technology related to our products and services,
and any and all technology and any content created or derived from any of
the foregoing is our or our licensors’ exclusive property.

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support@westsidelend.com. in your notification please:

¢ confirm you are the owner, or authorized to act on behalf of the owner,
of the copyrighted work that has been infringed;

e identify the copyrighted work or works you claim has been infringed;

e identify the material that you claim is infringing or is the subject of
infringing activity and that is to be removed; please include information
reasonably sufficient to permit us to locate the material;

¢ provide your contact details, including an email address; and

¢ provide a statement that the information you have provided is accurate
and that you have a good-faith belief that use of the material in the
manner complained of is not authorized by the copyright owner, its
agent or the law.

Links to Third Party Websites

We are not responsible for the information practices employed by sites
linked to or from our web site. In most cases, links to third-party web sites
are provided solely as pointers to information on topics that may be useful to
our users. Since third-party web sites may have different privacy policies
and/or security standards governing their sites, we advise you to review the
privacy policies and terms and conditions of these sites prior to providing
any personal information.

Use of Personally Identifiable Information
Our practices and policies with respect to the collection and use of

personally identifiable information are governed by our Privacy Policy.

No Warranty; Errors; Disclaimers

The Site and our products and services are provided “as is” and without any
representation or warranty, whether express, implied or statutory. Any
estimates or examples that we provide on the Site may be different than
actual amounts. You agree that we may promptly correct any error that we
discover, including any error in calculating your loan rates. If the error

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ALTHOUGH WE WILL USE REASONABLE EFFORTS TO PROVIDE AN
ACCURATE SITE/SERVICES, ALL ASPECTS THEREOF ARE PROVIDED “AS
IS" “WITH ALL FAULTS’, AND “AS AVAILABLE” WE AND OUR OFFICERS,
DIRECTORS, EMPLOYEES AND THIRD PARTY SUPPLIERS (COLLECTIVELY,
THE “PARTIES”) DISCLAIM ANY AND ALL REPRESENTATIONS,
WARRANTIES OR GUARANTEES OF ANY KIND, WHETHER EXPRESS,
IMPLIED OR STATUTORY, THE SITE, SERVICES, ANY DOCUMENTATION
PROVIDED OR MADE AVAILABLE TO YOU, AND ANY OTHER PRODUCTS
AND RELATED MATERIALS AND/OR SERVICES PROVIDED TO YOU BY ANY
OF THE PARTIES, INCLUDING, BUT NOT LIMITED TO, ANY WARRANTIES:
(1) AS TO TITLE, MERCHANTABILITY, FITNESS FOR ORDINARY PURPOSES,
FITNESS FOR A PARTICULAR PURPOSE, NON-INFRINGEMENT, SYSTEM
INTEGRATION, AND WORKMANLIKE EFFORT; (Il) THE QUALITY,
ACCURACY, TIMELINESS OR COMPLETENESS OF THE SITE OR SERVICES
OR ANY ASPECT THEREOF; (Ill) THOSE ARISING THROUGH COURSE OF
DEALING, COURSE OF PERFORMANCE OR USAGE OF TRADE; (IV) THE
SITE OR SERVICES CONFORMING TO ANY FUNCTION, DEMONSTRATION
OR PROMISE BY ANY PARTY; AND (V) THAT ACCESS TO OR USE OF THE
SITE AND/OR SERVICE WILL BE UNINTERRUPTED, ERROR-FREE OR
COMPLETELY SECURE. ANY RELIANCE UPON THE SITE AND/OR
SERVICES IS AT YOUR OWN RISK AND THE PARTIES MAKE NO
WARRANTIES. THESE DISCLAIMERS ARE INDEPENDENT OF ANY OTHER
TERM IN THESE TERMS OF USE.

Limitation of Liability

You agree that all access and use of the Site and its contents and your use
of the Services is at your own risk. Neither we, nor any third party involved
in creating, producing or delivering the Site and/or Services, has or will have
any responsibility for any consequences relating, directly or indirectly, to any
action or inaction that you may take based on the Site and/or Services, or
any aspect thereof.

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IN THE INFORMATION CONTAINED IN THE SITE/SERVICES. UNDER NO
CIRCUMSTANCES WILL ANY OF THE PARTIES BE HELD LIABLE FOR ANY
INDIRECT, INCIDENTAL, SPECIAL, CONSEQUENTIAL, EXEMPLARY,
PUNITIVE OR ANY OTHER DAMAGES, INCLUDING, BUT NOT LIMITED TO,
LOST PROFITS, ARISING OUT OF, BASED ON, RESULTING FROM, OR IN
CONNECTION WITH THE SITE/SERVICE OR PRODUCT, THESE TERMS OF
USE, OR YOUR USE OR INABILITY TO USE ANY OF THE FOREGOING, EVEN
IF WE HAVE BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES.

ALL OF THESE LIMITATIONS APPLY REGARDLESS OF THE CAUSE OR
FORM OF ACTION, WHETHER THE DAMAGES ARE CLAIMED UNDER THE
TERMS OF A CONTRACT, TORT OR OTHERWISE, AND EVEN IF WE OR OUR
REPRESENTATIVES HAVE BEEN NEGLIGENT OR HAVE BEEN ADVISED OF
THE POSSIBILITY OF SUCH DAMAGES.

indemnity

You agree to indemnify, defend and hold us harmless from and against any
and all third party actions, suits, claims and/or demands and any associated
losses, expenses, damages, costs and other liabilities (including reasonable
attorneys’ fees), arising out of or relating to your (and your users’) submitted
content, use or misuse of any aspect of the Services or Site, or your violation
of these Terms of Use. You will cooperate as fully as reasonably required in
the defense of any such claim or demand. We and any third party involved in
creating, producing or delivering the Site/Services reserves the right to
assume the exclusive defense and control of any matter otherwise subject to
indemnification by you, at your expense, and you will not in any event settle
any such matter without our prior written consent and any such third party.

Miscellaneous
These Terms and Conditions shall be governed in all respects by the laws of

Menominee Tribe.

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aspect hereunder, in whole or in part, without our prior written consent.

Severability

If any provision of this Terms and Conditions is found to be invalid or
unenforceable, the remaining provisions shall be enforced to the fullest
extent possible, and the remaining provisions of the Agreement shall remain
in full force and effect.

Question

Please contact us at 1-888-217-7531 with any questions regarding these
Terms of Use.

See what you're
approved for today

Apply < https://www.westsidelend.com/west-side-
Now lending-form/>

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We verify applicant and credit information through national databases including, but not limited

to, Clarity, Factor Trust, and Microbilt.

Loan Applications approved and processed by 12:30pm EST of any business day will be funded
the same day; Loan Applications approved and processed after 12:30pm EST will be funded by
the next business day. Unavoidable delays that occur as a result of bank holidays, the
processing schedule of your particular bank, inadvertent processing errors, “acts of God,’
and/or “acts of terror” may extend the time for the deposit and may cause a change in the

Disbursement Date as disclosed herein.

West Side Lending LLC is an economic arm and instrumentality of the Menominee Tribe of
Wisconsin, a federally recognized sovereign Indian nation (the “Tribe”) that adheres to federal
consumer finance laws and operates within the boundaries of the Tribe's reservation. West Side
Lending LLC is chartered under and operates pursuant to Tribal Law. Funds borrowed from
West Side Lending LLC are governed by federal law and the laws of the Tribe, not the law of the
state where you reside. Nothing in this communication should be construed as a waiver of

sovereign immunity, which is expressly reserved.

Please note: This is an expensive form of credit. West Side Lending's loans are designed to
assist you in meeting your short-term borrowing needs and are not intended as a long-term
credit or financial solution. Examples of unexpected emergencies for which this credit might be
used are car repair bills, medical care, or essential travel expenses, Appropriate alternatives to
West Side Lending’s credit product are cash advances, personal loans, home equity lines of
credit, existing savings, or borrowing from a friend or relative, as such alternatives may be less

expensive and a better fit for your financial needs.

The Annual Percentage Rate (“APR”) as applied to your loan will range from 630%-780%
depending on your payment schedule, pay frequency, loan term, and the amount of your loan.
Non- payment may result in additional fees and collection activities as described in your loan

agreement and as allowed by Tribal and applicable federal law.

Credit products obtained through this website are not available to residents of all states and
state availability may change from time to time without notice. Currently, residents of Arkansas,

Connecticut, Georgia, Maine, Maryland, Massachusetts, Minnesota, New Jersey, New York,

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About Us

Who Are We < https://www.westsidelend.com/?page id=35>

Loan FAQ < hitps://www.westsidelend.com/?page_id=204>

Lending Best Practices < https://www.westsidelend.com/?page_id=42>

Lending Licenses < https://www.westsidelend.com/?page id=26>

Opt Out < https://www.westsidelend.com/?page _id=733>
Policies

Rates < https://www.westsidelend.com/?page_id=38>
Terms of Use < https://www.westsidelend.com/?page id=54>
Privacy Policy < https://www.westsidelend.com/?page id=41>

Contact Us < https://www.westsidelend.com/?page_id=133>

Customer Support

&__support@westsidelend.com

@ PO Box 687 Keshena, WI 54135

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West Side Lending
West Side Lending supports efforts to combat fraud in the lending industry. If you believe

you have been a victim of fraud, please contact your local law enforcement authority and the

Online Lenders Alliance Consumer Hotline at 866-299-7585.

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